November 27, 2024

Hon. Eric R. Komitee, U.S. District Judge

U.S. District Court for the Eastern District of New York
225 Cadman Plaza East

Brooklyn, NY 11201

Re: Coombs-Moreno, et al., v. The City of New York, et al... 22-cv-02234(EK)(LB)}

Dear Judge Komitee:

1 am the pro se Plaintiff in the above-captioned case. I am writing to request an extension
of time for me to find counsel. My current deadline is November 29, 2024, and I am asking for
60 days. This is my first request as pro se Plaintiff. I contacted Elisheva Rosen, attorney for
Defendants, who consents to my request. I apologize for the late request.

I am trying to seek representation, which includes an upcoming consultation. With
prospective counsel’s help, I hope to prepare a response to the defendants’ Motion for
Reconsideration. Moreover, considering the upcoming holidays and closures, the extra time will
be helpful for me to schedule consultations.

Thank you for your consideration of my request.
Respectfully submitted,

s/Amoura Bryan

Pro se Plaintiff

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' This letter was prepared with help from the City Bar Justice Center's Federal Pro Se Legal Assistance
Project.
